        Case 5:03-cr-40053-JAR              Document 408           Filed 04/12/12        Page 1 of 2




                          IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF KANSAS



UNITED STATES OF AMERICA,                           )
                                                    )
                 Respondent/Plaintiff,              )
                                                    )
        v.                                          )       Case No. 03-40053-02-JAR
                                                    )                11-4163-JAR
JOHN E. McNEILL,                                    )
                                                    )
                 Movant/Defendant.                  )
                                                    )

                                  MEMORANDUM AND ORDER

        This matter comes before the Court on Petitioner John E. McNeill ’s Motion for

Reconsideration (Doc. 406). Citing to Fed. R. Civ. P. 59(e), McNeill asks the Court to

reconsider its Memorandum Order and Opinion dismissing as untimely his motion to vacate

pursuant to 28 U.S.C. § 2255 (Doc. 404).

        Local Rule 7.3(a) provides that “[p]arties seeking reconsideration of dispositive orders or

judgments must file a motion pursuant to Fed. R. Civ. P. 59(e) or 60.”1 A motion to alter or

amend judgment pursuant to Rule 59(e) may be granted only if the moving party can establish:

(1) an intervening change in the controlling law; (2) the availability of new evidence that could

not have been obtained previously through the exercise of due diligence; or (3) the need to

correct clear error or prevent manifest injustice.2 Such a motion does not permit a losing party to

rehash arguments previously addressed or to present new legal theories or facts that could have




        1
         D. Kan. Rule 7.3(a).
        2
         Servants of the Paraclete v. Does, 204 F.3d 1005, 1012 (10th Cir. 2000); Brumark Corp. v. Samson Res.
Corp., 57 F.3d 941, 948 (10th Cir. 1995).
        Case 5:03-cr-40053-JAR                Document 408          Filed 04/12/12         Page 2 of 2




been raised earlier.3

        McNeill presents no valid legal argument to warrant relief from the Court’s order.

Instead, he repeats arguments and allegations regarding whether he was convicted of a prior

offense “punishable by a term of imprisonment exceeding one year,” resulting in this Court

erroneously enhancing his sentence, and whether he timely filed his motion within one year of

the date when the Supreme Court’s ruling in Carachuri-Rosendo v. Holder4 was made

retroactive by the Fourth Circuit in United States v. Simmons.5 McNeill’s assertion on

reconsideration that his § 2255 motion is timely is merely a rehash of his previous arguments,

and is insufficient to warrant relief from judgment pursuant to Rule 59(e). As this Court

previously explained in detail, the Supreme Court’s decision in Dodd v. United States6 governs

the circumstances of this case, and McNeill’s motion is untimely. Accordingly, McNeill’s

motion for reconsideration is denied.

        IT IS THEREFORE ORDERED BY THE COURT that Petitioner John McNeill’s

Motion for Reconsideration (Doc. 406) is DENIED.

        IT IS SO ORDERED.

Dated: April 12, 2012
                                                              S/ Julie A. Robinson
                                                             JULIE A. ROBINSON
                                                             UNITED STATES DISTRICT JUDGE




        3
         Servants, 204 F.3d at 1012; Brown v. Presb. Healthcare Servs., 101 F.3d 1324, 1332 (10th Cir. 1996), cert.
denied, 520 U.S. 1181 (1997).
        4
         —U.S.—, 130 S. Ct. 2577 (2010).
        5
         649 F.3d 237, 240 (4th Cir. 2011).
        6
         545 U.S. 353 (2005).

                                                        2
